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   1                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
   2                              EASTERN DIVISION
   3
       UNITED STATES OF AMERICA,                )
   4                                            )
                             Plaintiff,         )
   5                                            )   Case No. 09 CR 383-10, -11
       -vs-                                     )
   6                                            )   Chicago, Illinois
                                                )   January 27, 2015
   7 PEDRO FLORES and MARGARITO                 )   10:43 a.m.
     FLORES,                                    )
   8                                            )
                       Defendants.              )
   9
 10                        TRANSCRIPT OF PROCEEDINGS
                BEFORE THE HONORABLE CHIEF JUDGE RUBEN CASTILLO
 11
       APPEARANCES:
 12
       For the Government:         HON. ZACHARY T. FARDON
 13                                UNITED STATES ATTORNEY
                                   BY: MR. MICHAEL JAMES FERRARA
 14                                MS. ERIKA L. CSICSILA
                                   MR. CHRISTOPHER P. HOTALING
 15                                219 S. Dearborn Street
                                   Chicago, IL 60604
 16                                (312) 353-5300
 17    For the Defendant
       Pedro Flores:
 18
 19
 20
 21    Court Reporter:
 22                  KATHLEEN M. FENNELL, CSR, RPR, RMR, FCRR
                               Official Court Reporter
 23                         United States District Court
                      219 South Dearborn Street, Suite 2524-A
 24                           Chicago, Illinois 60604
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   1   APPEARANCES: (Continued)
   2   For the Defendant
       Margarito Flores:
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              1         (Proceedings heard in open court:)
              2               THE CLERK: 09 CR 383, United States versus Pedro
              3   Flores and Margarito Flores.
              4               THE COURT: So appearances have already been noted on
10:43:24      5   the record.
              6               Are both sides ready to proceed to sentencing?
              7               MR. FERRARA: Yes, Your Honor.
              8                           : Yes, Your Honor.
              9                           : Yes, Judge.
10:43:32    10                THE COURT: And have defense attorneys reviewed the
            11    presentence reports?
            12                            : Your Honor --
            13                            : Yes, Judge.
            14                            : -- I've discussed it telephonically with
10:43:43    15    my client and met with him in person recently and reviewed it
            16    with him.
            17                            : I did not meet in person, but we've
            18    discussed it by phone on several occasions, and he has had it
            19    in his possession for quite some time, and we --
10:43:58    20                THE COURT: Okay. It's my understanding --
            21                            : -- have nothing, no comment.
            22                THE COURT: -- that for the defense and for the
            23    government, there are no factual objections to the presentence
            24    report and no legal objections. What remains for the Court is
10:44:14    25    really to consider all the 3553 factors, given the plea
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              1   agreements here, and determine a sentence somewhere between
              2   the statutory minimum of 10 years and the cap that has been
              3   placed by the plea agreement of 16 years and, in considering
              4   that, to determine the level of cooperation made by both of
10:44:44      5   these defendants as outlined in the government's submission,
              6   the defendants' original submission, supplemental submissions,
              7   also to consider the defendants' own words to the Court by way
              8   of letters, as well as the letters I've received from the
              9   defendants' spouses; is that correct?
10:45:09    10                            : Absolutely, Judge.
            11                THE COURT: Okay. Is there something you want to add
            12    to it by way of a proffer as to other potential evidence the
            13    Court should consider?
            14                            : Judge, the only thing we would add,
10:45:24    15    there are three people at counsel table that we -- some by
            16    subpoena and others by request: Tom Shakeshaft, the Assistant
            17    U.S. Attorney who was in charge of the investigation from the
            18    beginning; Agent Eric Durante, I believe he's now stationed
            19    somewhere else; and Agent Todd Smith. All three, if called to
10:45:47    20    testify, would concur 100 percent with the government's
            21    factual presentation with respect to the extent of their
            22    cooperation.
            23                They would all agree that, in their professional
            24    opinion, the cooperation was unparalleled, which is what the
10:46:09    25    government has described it as. They would also expound on
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              1   the level of the cooperation. It's essentially laid out in
              2   the three exhibits which the government has attached to their
              3   pleading and which we referenced in ours, and they could fill
              4   in any details you'd like.
10:46:34      5               They all three are extensively briefed on the issue
              6   of how difficult this was, how difficult it became, and they
              7   would also concur with the government's conclusions with
              8   respect to the terrible danger that will follow these
              9   individuals no matter where they are.
10:47:00    10                THE COURT: Okay. And --
            11                            : Could I have one second to speak to my
            12    client?
            13                THE COURT: Sure.
            14                            : Your Honor, I would only comment further
10:47:10    15    that as the Court is well aware, the ongoing nature of this
            16    process is such that these gentlemen will be forever called
            17    upon, at least for probably a great number of years, to
            18    continue to appear when necessary and provide live testimony
            19    in the matters that they've already provided information on.
10:47:31    20                Beyond that, I would also ask the Court to consider,
            21    as I know you have from reading the various documents you've
            22    been given, the dangerousness with which everyone involved
            23    with the case was presented with, starting with the
            24    clandestine meetings that took place in faraway places to
10:47:51    25    bring this cooperation to full fruition, which it now stands
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              1   at today.
              2               THE COURT: Okay. And I take it the government
              3   agrees with that.
              4               MR. FERRARA: Correct, Your Honor.
10:48:03      5               THE COURT: Okay. Then what we will do, since
              6   there's no dispute as to the sentencing guidelines, review of
              7   the plea agreement, no factual disputes that the Court needs
              8   to resolve, I will accept the facts contained in the two
              9   excellent presentence reports.
10:48:22    10                I will certainly consider the defendants' letters to
            11    the Court, as well as the letters of their spouses, and we
            12    will proceed to sentencing allocution.
            13                I'll hear first from the government as to what it
            14    believes is an appropriate sentence for both Flores
10:48:41    15    defendants, and then I'll hear from defense attorneys. And
            16    then if either defendant or both defendants wants to make a
            17    statement, they're free to do that, or they're free to stand
            18    on their letters to the Court.
            19                So we'll hear first from the government.
10:48:58    20                MR. FERRARA: Thank you, Your Honor.
            21                As this matter has been pending before Your Honor for
            22    the last six years and the relevant sentencing issues have
            23    been well briefed by both sides, there's actually not a great
            24    deal left to say; however, there are a small number of points
10:49:11    25    that the government would like to highlight that are
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              1   particularly relevant to the analysis of the 3553(a) factors.
              2               The first is recognizing the meaning that this
              3   sentence will have on the government's ability to encourage
              4   high-level cooperators in the future. What the Flores
10:49:25      5   brothers accomplished is unprecedented to the point they will
              6   unlikely be duplicated in full; however, their sentence
              7   presents sort of an unmatched opportunity to send the
              8   appropriate message that aiding justice is a viable
              9   alternative to defendants persisting in a criminal enterprise.
10:49:44    10                In advancing this message, the Flores brothers'
            11    cooperation is a sterling example in two regards: First is
            12    the timing of their cooperation. Cooperation with the
            13    government is not at all uncommon, as Your Honor is well
            14    aware, for defendants who are in custody, who have already
10:50:00    15    been charged with an offense. A meaningful number of
            16    defendants who see the handwriting on the wall that the end is
            17    near also decide to cooperate before they're charged, before
            18    they're in custody.
            19                However, where those cooperation numbers become
10:50:17    20    vanishingly small is for people who make the decision to
            21    cooperate who are sort of at the height of their criminal --
            22    criminal wrongdoing, and that was certainly the case with the
            23    Flores brothers.
            24                At the time of their outreach to the government, they
10:50:29    25    were absolutely at the top of the cartel world. They were
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              1   earning millions of dollars, and they were relatively shielded
              2   from problems with law enforcement due to their circumstances.
              3   The fact that they were at such an apex when they decided to
              4   turn the corner and come in and assist with the government's
10:50:45      5   investigation is exactly why they were able to achieve the
              6   results of their cooperation. The cartel simply did not
              7   expect them of being anything other than the cash cow outlet
              8   that they had been for years and years.
              9               For this reason and this reason alone, the Flores
10:50:59    10    brothers were able to achieve these results that otherwise
            11    would have been impossible, and the best example to highlight
            12    that, the nature of that cooperation, Your Honor, is the
            13    recorded conversations that they made with Chapo Guzman.
            14                At the time Chapo was -- was one of the if not the
10:51:17    15    most wanted person on earth. He was insulated by layer upon
            16    layer of buffers and security measures, accessible in person
            17    only at compounds that were -- you had to get in a small
            18    airplane and fly to a clandestine airstrip cut into the side
            19    of a mountain.
10:51:34    20                The Flores brothers were able to bypass all of that,
            21    cut through all those levels of security and the buffers to
            22    record two conversations directly with Chapo, two remarkably
            23    inculpatory conversations in which Chapo admitted to the
            24    existence of a vast conspiracy and specifically talked about a
10:51:54    25    heroin transaction right here in Chicago.
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              1               Defendants in a position that's not entirely
              2   comparable but similar to the Flores brothers who are weighing
              3   the equities of whether to do the right thing and come in or
              4   persist in their criminality can look to this sentence as an
10:52:09      5   example that there is an alternative, that it is a viable
              6   alternative to do the right thing, to cooperate with the
              7   government and using the Flores brothers' cooperation and
              8   ultimate sentence as an example.
              9               Your Honor, the second factor that's very closely
10:52:25    10    related is the grave risk of their cooperation. I know this
            11    has been briefed in substantial detail, but it really is
            12    impossible to overstate.
            13                If the Flores brothers' cooperation was discovered at
            14    any time by any number of people within this conspiracy, they
10:52:42    15    certainly would have been killed. Their family members could
            16    have been killed; and as the Court is aware, their father
            17    actually was kidnapped and presumed killed as a direct result
            18    of this cooperation, the Flores brothers' cooperation.
            19                All too often, these type of fears of retaliation
10:53:00    20    from powerful criminal entities prevent people from doing the
            21    right thing; and, once more, the fact that the Flores brothers
            22    were able to cut through that fear, to work for a substantial
            23    period of time with facing that grave danger while they were
            24    on their own before they turned themselves in to the
10:53:18    25    government is once more something that's remarkable and
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              1    something that should be encouraged through an appropriate
              2    sentence here.
              3               Your Honor, shifting gears for a second, despite the
              4    Court's great knowledge of the facts of this case and the
10:53:31      5    briefs that have been made, the government would be remiss if
              6    it did not reference the great criminal culpability related to
              7    these defendants. Their operation was simply the largest
              8    known enterprise in the history of this city, a city that is
              9    unfortunately no stranger to drug trafficking.
10:53:47     10               The total quantity of drugs that the Flores brothers
             11    trafficked to Chicago is so large that it sounds fantastic.
             12    Even using the most conservative numbers, it was a minimum of
             13    more than 60 tons of cocaine alone. That number sounds
             14    unreal, but unfortunately it was all too real, as was the
10:54:03     15    damage that those drugs did to untold individuals and entire
             16    communities.
             17               And even after the Flores brothers did turn that
             18    corner, their cooperation was -- was not perfect. As the
             19    Court is aware, there were two substantial deviations from
10:54:21     20    that correct path, and those were the unreported distribution
             21    of 276 kilos of cocaine here in Chicago, as well as the
             22    collection of millions of dollars of drug proceeds that were
             23    collected during the pendency of their cooperation, once more,
             24    without notice to the government on the front end.
10:54:39     25               The Flores brothers were ultimately honest about both
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              1    of those events in the government's determination; however,
              2    the significant factor is that they were not disclosed as they
              3    were ongoing or before they happened.
              4               Fortunately, for the Flores brothers and the
10:54:58      5    government for that matter, these negatives do not tell the
              6    whole story. Rather, the full story here presents a balance
              7    between extreme opposite forces of positive and negative. In
              8    weighing that balance, the government has reached a sentencing
              9    recommendation.
10:55:15     10               Your Honor, simply a massive criminal enterprise used
             11    to exist here in Chicago, the largest known drug-trafficking
             12    enterprise existed here in Chicago at their creation. That
             13    enterprise no longer exists, and they are directly responsible
             14    for that.
10:55:31     15               Make no mistake, they were responsible for creating
             16    it in the first place, but through their cooperation, that --
             17    that enterprise has been completely dismantled, and that was
             18    all of the workers and crew members that were here and in
             19    other cities, as well as the Flores brothers' customer base
10:55:47     20    that was here and several other cities throughout the country.
             21               The fact that that entire operation was entirely
             22    dismantled made a real difference. It made a real difference
             23    here in Chicago for the safety of our communities. It made a
             24    real difference in other cities as well, such as Columbus,
10:56:07     25    Cincinnati, Philadelphia, New York, Washington, D.C.
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              1    Stripping away customers that received from the Flores
              2    brothers 50 to 100 kilos of cocaine per month on average, once
              3    more, made a real difference.
              4               As the Court is aware, their cooperation didn't
10:56:23      5    simply stop there with dismantling their own organization and
              6    their customers. What the Flores brothers did to attack the
              7    Sinaloa cartel and the Beltran-Leyva organization really was
              8    unprecedented. These were at the time two of the most
              9    dangerous criminal entities on earth. The work that the
10:56:45     10    Flores brothers did made a massive difference there, and that
             11    work continues to make a difference up to and including the
             12    present.
             13               With the indictment that has been unsealed as of
             14    today, Your Honor, the government's investigation has
10:57:00     15    continued from the inception of their cooperation in 2008 all
             16    the way until 2015, with additional high-level leadership
             17    defendants within the Sinaloa cartel being charged.
             18               All of that flows back to their original cooperation,
             19    and all of it is relevant to determination of what the
10:57:20     20    appropriate sentence is here. Your Honor, as recently as
             21    yesterday afternoon, the government spent hours with the
             22    Flores brothers furthering their cooperation on additional
             23    matters to assist with the government's investigation.
             24               So, Your Honor, in this case, there's adjectives that
10:57:43     25    are routinely thrown around that you don't hear much in
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              1    courtrooms, words like unprecedented, extraordinary, historic,
              2    incomprehensible, but here those words in this case are used
              3    frequently, and they're used frequently for good reason.
              4    Simply put, these two defendants are the most valuable
10:57:59      5    cooperators this district has ever seen in the context of a
              6    drug case, and as well, Your Honor, in the context of
              7    international money laundering related to drug-trafficking
              8    organizations.
              9               Just using some of these adjectives their cooperation
10:58:14     10    was extraordinary and did enough good to advance the interests
             11    of -- I apologize, Your Honor -- to advance the interests of
             12    justice that the government believes and recommends that the
             13    appropriate sentence here is a sentence at or near the low end
             14    of the agreed guideline range of 10 to 16 years' imprisonment.
10:58:36     15               THE COURT: Thank you.
             16               The defense may proceed.
             17                            : Judge, I said at the very beginning of
             18    our sentencing memorandum, which was relatively brief, that to
             19    say as the government does at the outset that the Flores
10:58:56     20    brothers' "unparalleled assistance to the government
             21    sufficiently offsets their considerable criminal culpability"
             22    puts it bluntly; but I also said yet at the same time, it
             23    properly frames the criminal -- the critical issues that are
             24    before you today.
10:59:15     25               And in that regard, I continued back to the use of
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              1    the term "unparalleled." There's no doubt, and both clients
              2    will readily admit, that their drug distribution network is
              3    unparalleled. They make no excuse for it. There are perhaps
              4    some things that mitigate, but frankly it's of the scale that
10:59:43      5    is virtually unmitigatable but for the cooperation.
              6               And yet on the flip side, the cooperation is indeed
              7    unparalleled. You know it from what the government has set
              8    forth. You also know it from the cases that you've seen, and
              9    it seems to me -- and I'm -- you know, there are cases that
11:00:14     10    need wisdom, and this is one of them. This is a case that
             11    needs your experience and your skill at balancing because it's
             12    ultimately a balancing.
             13               There are competing interests, I get it, everybody
             14    gets it; but the reason I set forth the guideline issues is
11:00:37     15    that I think in this case, it's the best place to look for
             16    direction because the guidelines really set forth the very
             17    factors that you are to consider in the granting of a 5K1
             18    motion in arriving at the appropriate sentence, and I did them
             19    in reverse in our pleading, and it's kind of the same order
11:01:04     20    that Mr. Ferrara just went in, so I'm not going to belabor it.
             21               But the first is the timeliness of their assistance,
             22    which I pointed out to you was remarkable on a number of
             23    levels, most importantly the sheer danger that they
             24    encountered in the very first meetings that they ended up with
11:01:27     25    in Mexico. I set that forth in the pleading. I don't need to
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              1    belabor it, but you know as well as I do that if someone had
              2    been caught under those circumstances, the result would have
              3    been death and we wouldn't be here today.
              4               Those meetings turned productive. It started a
11:01:48      5    domino that is equally unparalleled in this district and,
              6    frankly, I think in the country.
              7               The other factor going in reverse is the injury
              8    suffered or any danger or risk of injury to the defendant and
              9    his family because of his assistance. As we pointed out to
11:02:09     10    you, as Mr. Ferrara just said, they've already lost their
             11    father over this. They have many family members who live --
             12    who will have to live in constant fear for a long time, for as
             13    long as they live.
             14               The defendants themselves have to live in that fear,
11:02:33     15    and I don't know how you even put a price tag on that type of
             16    anxiety. I suppose some people could cruelly say they deserve
             17    it, but I don't know that anyone deserves that.
             18               But be that as it may, it exists. It's a real
             19    threat, and they will live with that whether they are in a
11:02:55     20    penitentiary or whether they are outside of a penitentiary,
             21    and I think that's a significant factor.
             22               The other factor is nature and extent of the
             23    assistance, which we've also discussed, as we have the
             24    truthfulness, completeness and reliability of any information
11:03:12     25    or testimony provided, and I won't belabor that because the
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              1    government stands by that.
              2               But what is significant is the first factor, which is
              3    your evaluation of the significance and usefulness of the
              4    defendants' assistance, taking into consideration the
11:03:30      5    government's evaluation of the assistance rendered. And I
              6    sometimes like to argue the opposite of this, but in this
              7    case, I think there's a lot of merit to that. I think the
              8    Commission was wise in that because ultimately it is really
              9    only the government that can provide a more detailed, a more
11:03:58     10    relative value to the cooperation. We were in that chair at
             11    one time, both of us, and we know what you see there.
             12               So I think the Commission's statement there is
             13    extremely important because the government is essentially
             14    saying this should be a sentence of 10, 11, 12 years, and I
11:04:28     15    agree with that. Frankly, I think a sentence of 10 years
             16    would work.
             17               The issue in that is that sooner or later, they have
             18    to be released and live with the fear that we're talking
             19    about. And from a deterrence standpoint, which I think would
11:04:47     20    be the most significant factor, the difference in a couple of
             21    years is I think vastly outweighed by your ability to fashion
             22    conditions of supervised release that will offset that.
             23               So I agree with the government's recommendation here.
             24    I think at or near the low end is what we said in the
11:05:17     25    pleading, and I'll stand by that.
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              1               I know my client wants to address you briefly, he
              2    will do that, but he's addressed you in his letter. I have
              3    not been in this case from the beginning, but I've been in it
              4    now for it seems like an eternity, maybe four years, and I've
11:05:41      5    come to know Mr. Flores. I've come to know his family. I've
              6    come to live with the anxiety that they share, but I've also
              7    come to appreciate the sincerity of their statements about
              8    their caring for their family members, and that's genuine.
              9               And, again, that's not -- it doesn't offer any
11:06:06     10    excuse, nothing excuses the conduct, but, you know, there is
             11    such a thing as redemption hopefully, and there is such a
             12    thing as finally doing the right thing, and I think that's
             13    exactly what they have said to you in their letters, and I
             14    think -- I don't think. I know that that's genuine.
11:06:29     15               So I would ask you to do exactly what the government
             16    is asking you to do, as odd as it may seem coming from my
             17    voice, but I think it's appropriate.
             18               THE COURT: Okay. You may proceed, counsel.
             19                            : Your Honor, my only further comments are
11:06:44     20    to highlight the timeliness of the cooperation. Certainly I
             21    agree with everything that's been said about the inability to
             22    offset the nature of the conduct.
             23               What often happens that results in cooperation starts
             24    with the handwriting on the wall being your name under the
11:07:05     25    "-v-" in a court document or that early morning visit to your
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              1    residence by law enforcement agents.
              2               What happened here was the handwriting on the wall
              3    was self-composed. Both brothers decided that there had to be
              4    a way to alter the course, and they reached out and began that
11:07:28      5    process, an extremely dangerous process because at the time,
              6    they were still sitting in the back yard of the very people
              7    that they intended to provide information against without the
              8    protection that most cooperators normally have because in many
              9    instances, not all, those people are either in custody or in
11:07:49     10    the control of government agents.
             11               This is a situation that developed while they were in
             12    a foreign place, not able to have that protection, where at
             13    any given moment, their cooperation with the government could
             14    have been exposed and the results dramatically different than
11:08:07     15    what they are right now, including even the ability to
             16    negotiate a place to actually have a conversation in person
             17    with government agents.
             18               Mr. Guzman, as it's well known, has a network of
             19    people who continuously provide information to him on the
11:08:28     20    whereabouts of anyone that he may be doing business with, so
             21    the mere presence in a location outside where they would
             22    normally be authorized to be would have set off significant
             23    alarms, and I think the nature of Mr. Guzman's practice would
             24    have been to react first and ask questions later.
11:08:50     25               But nonetheless undeterred by that extreme risk, both
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              1    defendants engaged in cooperative conduct that allowed the
              2    government to amass not only a great quantity of information
              3    but great quality of information as established by the number
              4    of indictments brought in this district, the indictments
11:09:11      5    brought in other districts, the successful prosecution of
              6    almost every one of those cases. In fact, other than a case
              7    that was dismissed in this district for reasons that I think
              8    only related to the government's willingness to expose certain
              9    information, they weighed that and decided not to pursue that
11:09:32     10    case.
             11               But in this district, every one of those cases has
             12    resulted in a successful prosecution, which I think speaks
             13    volumes of the quality and the quantity of the information
             14    that was given.
11:09:45     15               As I commented earlier, as you are well aware, this
             16    is a process that's not going to stop in the near future. The
             17    risk remains certainly from the moment they decided at a young
             18    age to get involved in drug trafficking, well aware of the
             19    risks that that posed outside of whether they cooperated with
11:10:05     20    government at any time or not. The risk was certainly
             21    heightened, given the nature of the information they provided
             22    to the government and on both sides, they completely
             23    dismantled this entire pipeline, both from the supply side and
             24    the distribution side. So the number of people who obviously
11:10:25     25    are not happy with the result of that cooperation certainly
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              1    significantly increases the risk factor.
              2               Judge, this is a risk that will forever follow them
              3    and their families. There's already been a situation that has
              4    had a disastrous result for them, and they're going to forever
11:10:44      5    have to live with that.
              6               I'm asking that you consider a sentence at the low
              7    end, at the very end of the range in this case, and also as
              8    Mr. -- as we've mentioned already, I think that there are
              9    other ways to fashion a sentence beyond the prison sentence
11:11:05     10    that gives the Court the necessary control moving forward.
             11               THE COURT: Thank you.
             12               Do either defendants, either Pedro or Margarito, want
             13    to make a statement to the Court?
             14                            : May I have a minute, Judge?
11:11:20     15               THE COURT: Yes.
             16          (Defendant and counsel conferring.)
             17               DEFENDANT MARGARITO FLORES: Good morning.
             18               THE COURT: Good morning.
             19               DEFENDANT MARGARITO FLORES: First of all, I want to
11:11:46     20    thank you to taking the time to read my lengthy letter that
             21    was sent to you.
             22               THE COURT: And could you state your name just for
             23    the record?
             24               DEFENDANT MARGARITO FLORES: Oh, I'm sorry.
11:11:52     25    Margarito Flores, Jr.
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              1               THE COURT: Okay. You may proceed.
              2               DEFENDANT MARGARITO FLORES: First and foremost, I
              3    want to take full responsibility for all my actions -- I'm
              4    sorry -- for my bad decisions, for the life of crime that I
11:12:10      5    have lived. I'm ashamed. I'm embarrassed. I'm regretful for
              6    being stupid enough to making such bad decisions. I disgraced
              7    myself and my children. I put my family in harm's way, and I
              8    will never forgive myself.
              9               I want this Court to know that I recognize how awful
11:12:29     10    my conduct was, and I know there's no excuse for it, but I
             11    want to apologize to this Court, to the prosecutors, my
             12    country, to the citizens of Chicago, all its citizens, and
             13    especially to the people I've harmed because of the drugs I've
             14    sold, Your Honor.
11:12:45     15               Thank you.
             16               THE COURT: Thank you.
             17               DEFENDANT PEDRO FLORES: Good morning, Your Honor.
             18               THE COURT: Good morning, Mr. Pedro Flores.
             19               You may proceed.
11:13:03     20               DEFENDANT PEDRO FLORES: First of all, I just want to
             21    thank God for seeing me through all that danger and allowing
             22    me to be here today. Your Honor, especially thank my wife and
             23    children and family for all their support and being --
             24    standing strong by our side through the most difficult times
11:13:26     25    in our life.
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              1               And I also want to thank the United States government
              2    for giving me the opportunity to cooperate and take apart the
              3    drug traffic I helped create. Thank the government, the DEA
              4    and you, Your Honor, for allowing me the opportunity to not
11:13:48      5    spend the rest of my life in prison.
              6               I am before you today ready to take full
              7    responsibility for my life as a drug trafficker, and I know my
              8    actions deserve the greatest punishment, and I am grateful
              9    that the government has asked you to consider my work as a
11:14:10     10    cooperator. I know my cooperation did not wipe the slate
             11    clean for me and the damage I have caused, and I believe it
             12    was my obligation to help take apart the drug distribution
             13    network I helped build, and I just want to do the right thing
             14    and I'm truly sorry for all my actions.
11:14:37     15               Thank you, Your Honor.
             16               THE COURT: Nothing easy about sentencing either of
             17    the Flores brothers. I've given a lot of thought to this
             18    sentencing.
             19               I have to start out with the first thing I thought
11:15:05     20    about was whether or not this plea agreement was sufficient,
             21    given the amount of drugs involved in this case, which is
             22    unprecedented, devastating, horrific.
             23               When you think about a drug conspiracy that involves
             24    1,500 to 2,000 kilograms of cocaine per month and coming not
11:15:35     25    only to this city, which I love dearly, but also to Columbus,
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              1    Ohio, Cincinnati, Ohio, Philadelphia, New York, Washington,
              2    D.C., Detroit, Vancouver, it is devastating to think about
              3    that, and it's devastating to think about when you add that
              4    all up, it's 64,000 kilos over the course of the charged
11:16:02      5    conspiracy, and this is not only the drug cocaine but also the
              6    drug heroin.
              7               When you think about the return to this being over
              8    $1 billion, it's money, just money that drives all this. I
              9    look at the two Flores brothers and I think growing in Chicago
11:16:29     10    under different circumstances, both of you gentlemen probably
             11    could have accomplished a great deal if you had been law
             12    abiding because there's a lot of things you are, but stupid is
             13    not one of them. And you're very smart to get to this point
             14    in this drug conspiracy, to be able to ultimately work to a
11:16:54     15    level where any walls that we had, and I'm not naive enough to
             16    think that we have walls that protected this city, but if we
             17    did, you devastated those walls. You just knocked them down
             18    because this became just a highway of drugs that were coming
             19    into this city.
11:17:15     20               Nor am I naive enough to think that this highway was
             21    closed down because you were out of business or because people
             22    have been arrested both in the United States and in the
             23    country of Mexico, another country that I love dearly that has
             24    been devastated by drug conspiracies. Unfortunately, the
11:17:39     25    demand for drug use in this country continues. There are not
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              1    enough treatment programs, and there seems to be no absence of
              2    individuals who get involved in trafficking in drugs.
              3               And I know this because I see them every day.
              4    Twenty years on the bench, one of the things that I've
11:18:03      5    complained to the U.S. Attorney's Office is that oftentimes,
              6    too often, I've seen low-level drug dealers prosecuted in this
              7    court, and I've complained about that early and often. But
              8    that is not the complaint that I have today because there is
              9    no doubt in my mind that both of the Flores brothers are the
11:18:30     10    most significant drug dealers that I've ever had to sentence
             11    in 20 years on the bench, and that is saying a lot.
             12               What do I make of this case? As it is, your
             13    attorneys have served you well. They have negotiated based on
             14    your cooperation. And I do want to talk about your
11:18:56     15    cooperation. Never in my 20 years on the bench have I seen a
             16    situation where defendants, regardless of the crime that's
             17    being prosecuted, stopped in the middle of the crime spree and
             18    say I'm going to cooperate. I haven't seen that, so I have to
             19    give that significance.
11:19:17     20               And so any inkling that I had to reject the plea
             21    agreement based on this type of cooperation, I will not follow
             22    that impulse, but I want you both to know that but for your
             23    cooperation, if you had been brought before me in your prison
             24    garb, you'd be leaving here today with a life sentence, and I
11:19:43     25    would not hesitate at all to give you a life sentence for this
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              1    type of drug conspiracy and this devastation of this country
              2    and this city with these drugs because it is devastating. It
              3    is just simply horrific.
              4               I have decided that the plea agreement gives me
11:20:03      5    enough discretion and such as it is, anywhere between 10 and
              6    16 years, that certainly narrows my field of discretion. I
              7    think it is fair because I've never seen anyone just stop in
              8    the middle of a conspiracy, as I said before, and decide to
              9    cooperate.
11:20:26     10               I wish your cooperation had been perfect. It is not
             11    perfect. It is valuable, it is timely, and the fact that
             12    you've recorded conversations is very significant and might
             13    turn out to be even more significant in upcoming trials that
             14    may or may not take place in this city or in this country, but
11:20:50     15    I understand what you have done. You've taken a great deal of
             16    risk, and I certainly am going to consider that because in a
             17    very real way, even though I'm not going to sentence you to
             18    life, you are going to leave here with a life sentence.
             19               You and your family members for the rest of your life
11:21:11     20    will always have to look over your shoulder and wonder every
             21    time you're outside in a vehicle and you see a motorcycle come
             22    up behind you, you're going to be wondering if that is the
             23    motorcycle that is going to take your life.
             24               Every time you start a car, you're going to be
11:21:33     25    wondering is that car going to start, or is that car going to
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              1    explode every single time for the rest of your life.
              2               And I know what that feeling is because I have put my
              3    life on the line in the drug wars, and I could close my eyes
              4    right here right now in 2015 and take myself back to 1987, and
11:21:58      5    the sad reality is nothing has really changed. Drugs are
              6    available. You could walk to the West Side of Chicago and
              7    people can purchase kilograms, heroin hits, and it just goes
              8    on and on. And that, to me, is sad.
              9               I've considered the violence that you suffered, that
11:22:21     10    your family has suffered. No one should lose a parent under
             11    those circumstances. But realize this: That a lot of people
             12    in this city have lost family members, sons and daughters,
             13    fathers and sons, because of drugs. You need to realize that.
             14               I've also considered very carefully what the
11:22:46     15    government said about your actual use of violence and the fact
             16    that they cannot prove that you have either ordered someone to
             17    have their life taken or were involved in the actual taking of
             18    life, and that is significant for me. And I will tell you,
             19    weighing all of these 3553 factors ultimately -- and I want
11:23:08     20    you to know this -- but for your cooperation, you would have
             21    received a life sentence.
             22               If your cooperation had been perfect, you would leave
             23    here today with 12-year sentences. That's what I think is
             24    fair. But it's not going to be that way, and I'll tell you
11:23:27     25    why, because there's one thing that really bothers me.
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              1    There's one thing about your cooperation that just is not
              2    forgivable for me, and that is your failure to report to the
              3    government the arrival of 276 kilograms of cocaine in that
              4    transaction with Mr. Vasquez-Hernandez.
11:23:51      5               Now, you need to know, and you do know, that
              6    Mr. Vasquez-Hernandez left here with a 22-year sentence just
              7    for that transaction, if nothing else.
              8               So today, I'm sentencing you, both of you, to
              9    14 years in the custody of the Attorney General. That's what
11:24:12     10    I think is sufficient, that's what I think is fair, but I want
             11    you to know that that 276 kilos which you allowed to be
             12    distributed on the streets of Chicago cost you two years. I
             13    want you to know that.
             14               Now, I'm not concerned about you being involved in
11:24:29     15    drug trafficking after you get out of prison. I am concerned
             16    about your safety. I am concerned about that, but I think for
             17    now, given the time you've already spent in custody, that
             18    you're better off being in custody where the government, the
             19    government has responsibility for your safety before they turn
11:24:51     20    it over to you. And I think 14 years, in light of the
             21    devastation that you caused this city, this country of yours,
             22    is what is appropriate.
             23               I will place you on five years of supervised release
             24    following the sentence.
11:25:09     25               I'm not going to fine you, although I will tell you
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              1    this, I think everyone in this city, everyone in this city
              2    thinks that you have money. Everyone. But we're not going to
              3    do anything about that.
              4               I will enter the preliminary order of forfeiture
11:25:28      5    which will result in 81,500 seized from Individual A on
              6    September 1, 2010 being forfeited, which will result in
              7    forfeiture of $10,000 used as a downpayment on a vacant lot
              8    being forfeited; more importantly, in $3.5 million, more
              9    specifically specified in the preliminary order of forfeiture
11:25:59     10    being forfeited; and also a 2008 Land Rover vehicle which VIN
             11    number is indicated in the preliminary order of forfeiture.
             12    That will be forfeited.
             13               But I think if you ask the average person on the
             14    street, they think you still have money left over other than
11:26:22     15    the money that the government is going to leave you with, but
             16    I'm not going to fine you.
             17               I am required to assess you $100.
             18               We're not going to talk about where you're going to
             19    be held on the record for safety reasons. I'll make those
11:26:38     20    recommendations confidentially and privately.
             21               But let the message go out: No. 1, it's never too
             22    late to cooperate because a significant discount in what would
             23    otherwise have been life sentences has been given by this
             24    Court today. Let that message go out. You can cooperate with
11:27:01     25    the government and get a discount for bad behavior even as
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              1    devastating as this behavior was.
              2               That will be the sentence of this Court.
              3               Is there anything else we need to take care of?
              4               MR. FERRARA: Your Honor, two matters from the
11:27:18      5    government.
              6               THE COURT: Yes.
              7               MR. FERRARA: With respect to the 3553(a) -- I'm
              8    sorry, with respect to the conditions of supervised release --
              9               THE COURT: Right.
11:27:25     10               MR. FERRARA: -- the Seventh Circuit's recent opinion
             11    in United States versus Thompson requires --
             12               THE COURT: Sure.
             13               MR. FERRARA: -- specific reasons for those
             14    conditions, so the government would request that those -- the
11:27:36     15    Court's well-reasoned imposition of those be on the record.
             16               THE COURT: Sure. And let me just say there will be
             17    no special conditions of supervised release.
             18               While on supervised release, each defendant cannot
             19    commit any federal, state or local crime.
11:27:57     20               And the only other special condition, just because I
             21    am aware that there has been some drug use, is that there will
             22    be one drug test within 15 days of release from imprisonment
             23    and random drug tests thereafter.
             24               And it's not lost on me -- I want to tell both of the
11:28:22     25    Flores brothers -- that even one of your brothers was addicted
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              1    at one point and suffered from addiction, and that's just one
              2    example of the many addictions I've had to cope with as a
              3    federal judge.
              4               I'm also going to order that each defendant provide a
11:28:44      5    DNA sample at the direction of the probation officer.
              6               It will also be a condition, given the offenses that
              7    the defendants have pled guilty to, and this is federal law so
              8    it really doesn't go beyond federal law, that they cannot
              9    possess a firearm or destructive device.
11:29:06     10               Those are the sole conditions. Both Flores
             11    defendants have a right to appeal the sentence by filing a
             12    notice of appeal within 14 days. If you need appointed
             13    counsel for purposes of pursuing an appeal, you can request
             14    one from the Court of Appeals. But I believe, given your
11:29:29     15    unique cooperation as I've indicated today and the facts of
             16    this case, that these sentences are sufficient but no greater
             17    than necessary under 18 U.S.C. 3553.
             18               Is there anything else?
             19               MR. FERRARA: Your Honor, with respect to the plea
11:29:46     20    agreements in this matter, there is a full appellate and
             21    collateral attack waiver.
             22               THE COURT: Okay.
             23               MR. FERRARA: Just to make that of record.
             24               And then at this time, the government moves to
11:29:54     25    dismiss Count 2 of the indictment.
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              1               THE COURT: Count 2 will be dismissed, and I think we
              2    covered all the collateral waivers during the Rule 11 colloquy
              3    with both defendants, so I won't go any further with that.
              4               Anything else for the defense?
11:30:11      5                            : No, Judge.
              6                            : No, Your Honor.
              7                            : Can we have a brief --
              8               THE COURT: Sure. We'll give you a brief moment, and
              9    the Court will stand in recess.
11:30:19     10                            : Thank you.
             11          (Which were all the proceedings heard.)
             12                                    CERTIFICATE
             13          I certify that the foregoing is a correct transcript from
             14    the record of proceedings in the above-entitled matter.
             15    /s/Kathleen M. Fennell                   February 11, 2015
             16
                   Kathleen M. Fennell                            Date
             17    Official Court Reporter
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